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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    UNCONDITIONAL LOVE INC., et al., 1                      Case No. 23-11759 (MFW)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket No. 84



            ORDER ESTABLISHING PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

         Upon consideration of the motion (the “Motion”) 2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to sections

330, 331, and 105(a) of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-2,

establishing procedures for interim compensation and reimbursement of expenses for professionals

and official creditors’ committee members (if any); and due and proper notice of the Motion having

been given; and it appearing that no other or further notice of the Motion is required except as

otherwise provided herein; and it appearing that this Court has jurisdiction to consider the Motion

in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and it appearing

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this

proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing

that the relief requested in the Motion and provided for herein is in the best interest of the Debtors,




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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     number, are Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
     Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd, Suite B200,
     Pacific Palisades, CA 90272.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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their estates, and their creditors; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Except as may otherwise be provided in an order of this Court authorizing the

retention of specific Professionals, all Professionals in these Chapter 11 Cases retained by the

Debtors or the official committee of unsecured creditors (the “Committee”) may seek interim

payment of compensation and reimbursement of expenses in accordance with the following

procedures (collectively, the “Compensation Procedures”):

               a.      On or before the 20th day of each calendar month, or as soon as practicable
                       thereafter, each Professional may file an application (a “Monthly Fee
                       Application”) with this Court for interim approval and allowance of
                       compensation for services rendered and reimbursement of expenses
                       incurred during any preceding month or months, and serve a copy of such
                       Monthly Fee Application by regular mail on each of the following parties
                       (collectively, the “Notice Parties”):

                       i.      (a) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York,
                               NY 10019, Attn: Brian S. Lennon, Esq. (blennon@willkie.com),
                               Debra M. Sinclair, Esq. (dsinclair@willkie.com), Erin C. Ryan, Esq.
                               (eryan@willkie.com),      and     Jessica    D.    Graber,     Esq.
                               (jgraber@willkie.com), and (b) Young Conaway Stargatt & Taylor,
                               LLP, Rodney Square, 1000 North King Street, Wilmington, DE
                               19801, Attn: Edmon L. Morton, Esq. (emorton@ycst.com),
                               Matthew B. Lunn, Esq. (mlunn@ycst.com), and Heather P. Smillie,
                               Esq. (hsmillie@ycst.com);

                       ii.     the Office of the United States Trustee for the District of Delaware
                               (the “U.S. Trustee”), J. Caleb Boggs Building, 844 King Street,
                               Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Richard L.
                               Schepacarter, Esq. (richard.schepacarter@usdoj.gov);

                       iii.    counsel to the DIP Secured Parties, (a) Holland & Knight LLP, One
                               Arts Plaza, 1722 Routh Street, Suite 1500, Dallas, TX 75201, Attn:
                               Robert W. Jones, Esq. (robert.jones@hklaw.com), Brian Smith,
                               Esq. (brian.smith@hklaw.com), and Steven J. Levitt, Esq.
                               (steven.levitt@hklaw.com), and (b) Wilson Sonsini Goodrich &
                               Rosati, P.C., 222 Delaware Avenue, Suite 800, Wilmington, DE
                               19801, Attn: Erin R. Fay, Esq. (efay@wsgr.com) and Catherine C.
                               Lyons, Esq. (cylons@wsgr.com); and


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      iv.     counsel to the Committee.

      Any Professional that fails to file a Monthly Fee Application for a particular
      month or months may subsequently submit a consolidated Monthly Fee
      Application including any prior month or months. All Monthly Fee
      Applications shall comply with the Bankruptcy Code, the Bankruptcy
      Rules, applicable Third Circuit law, and Local Rule 2016-2.

b.    Each Notice Party will have twenty-one (21) days after service of a Monthly
      Fee Application to review the request (the “Review Period”). If any Notice
      Party wishes to object to a Professional’s Monthly Fee Application, the
      objecting party shall serve a written notice (a “Notice of Objection”) so that
      it is received by the end of the Review Period by the applicable Professional
      and each of the Notice Parties. A Notice of Objection shall set forth the
      precise nature of the objection and the amount of fees and expenses at issue.

c.    Upon the expiration of the Review Period, if a Notice of Objection has not
      been served with respect to a Monthly Fee Application, a Professional may
      file a certificate of no objection with this Court with respect to the fees and
      expenses requested in its Monthly Fee Application (each, a “CNO”). After
      a CNO is filed, the Debtors are authorized and directed to pay the
      Professional an amount equal to 80% of the fees and 100% of the expenses
      requested in the applicable Monthly Fee Application. If a Notice of
      Objection was timely received and remains unresolved, a Professional may
      file a CNO with this Court with respect to the unopposed portion of the fees
      and expenses requested in its Monthly Fee Application, and the Debtors are
      authorized and directed to pay the Professional an amount (the “Reduced
      Monthly Payment”) equal to 80% of the fees and 100% of the expenses not
      subject to a Notice of Objection.

d.    If a Notice of Objection is timely served in response to a Monthly Fee
      Application, the objecting party and the Professional shall attempt to
      resolve the objection on a consensual basis. If and to the extent that the
      parties reach an agreement, the Debtors shall promptly pay 80% of the
      agreed-upon fees and 100% of the agreed-upon expenses, to the extent not
      already included in a Reduced Monthly Payment. If, however, the parties
      are unable to reach a complete resolution of the objection within 10 days
      after service of the Notice of Objection, unless otherwise agreed by the
      parties, the objecting party shall file its objection (the “Objection”) with this
      Court within 3 business days and serve such Objection on the respective
      Professional and each of the Notice Parties. Thereafter, the Professional
      may either (i) file with this Court a response to the Objection, together with
      a request for a hearing on the matter, or (ii) forego filing a response to the
      Objection and seeking payment of the disputed amounts until the next
      interim or final fee application hearing, at which time this Court will
      consider the Objection, if requested by the parties.



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e.    At three-month intervals or such other intervals convenient to this Court
      (the “Interim Fee Period”), each of the Professionals may file with this
      Court and serve on the Notice Parties an application (an “Interim Fee
      Application”) for interim Court approval and allowance of the payment of
      compensation and reimbursement of expenses sought by such Professional
      in its Monthly Fee Applications, including any holdbacks, in connection
      with the Interim Fee Period, pursuant to section 331 of the Bankruptcy
      Code. The Interim Fee Application must include a brief description
      identifying the following:

      i.     the Monthly Fee Applications that are the subject of the request;

      ii.    the amount of fees and expenses requested;

      iii.   the amount of fees and expenses paid to date and/or subject to an
             Objection;

      iv.    the deadline for parties to file objections (the “Additional
             Objections”) to the Interim Fee Application; and

      v.     any other information requested by this Court or required by the
             Local Rules.

      Additional Objections, if any, to the Interim Fee Applications shall be filed
      and served upon the Professional that filed the Interim Fee Application and
      the other Notice Parties so as to be received on or before 4:00 p.m.
      prevailing Eastern Time on the 21st day following service of the applicable
      Interim Fee Application.

f.    The Debtors will request that this Court schedule a hearing on the Interim
      Fee Applications at least once every three months, or at such other intervals
      as this Court deems appropriate. If no Objections are pending and no
      Additional Objections are timely filed, this Court may grant an Interim Fee
      Application without a hearing.

g.    The first Interim Fee Period will cover the period from the Petition Date
      through January 31, 2024. Each Professional must file and serve its first
      Interim Fee Application on or before February 29, 2024.

h.    The pendency of an Objection or Additional Objection to payment of
      compensation or reimbursement of expenses will not disqualify a
      Professional from the future payment of compensation or reimbursement of
      expenses under the Compensation Procedures.

i.    Neither (i) the payment of or the failure to pay, in whole or in part, interim
      compensation and/or the reimbursement of or the failure to reimburse, in
      whole or in part, expenses under the Compensation Procedures, nor (ii) the
      filing of or failure to file an Objection or Additional Objection will bind any


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                       party in interest or this Court with respect to the final allowance of
                       applications for payment of compensation and reimbursement of expenses
                       of Professionals. All fees and expenses paid to Professionals under the
                       Compensation Procedures are subject to disgorgement until final allowance
                       by this Court.

         3.    In each Interim Fee Application and Final Fee Application, all attorneys who have

been or are hereafter retained pursuant to sections 327 or 1103 of the Bankruptcy Code, unless

such attorney is employed and retained pursuant to the Debtors’ motion for an order authorizing

the retention and employment of ordinary course professionals and is not otherwise required to file

fee applications in accordance with the terms thereof, shall (a) apply for compensation for

professional services rendered and for reimbursement of expenses incurred in connection with the

Chapter 11 Cases in compliance with sections 330 and 331 of the Bankruptcy Code and applicable

provisions of the Bankruptcy Rules, the Local Rules, and any other applicable procedures and

orders of this Court, and (b) make a reasonable effort to comply with the U.S. Trustee’s requests

for information and additional disclosures as set forth in the Appendix B - Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases, effective as of November 1, 2013.

         4.    Each member of the Committee is permitted to submit statements of expenses

incurred in the performance of the duties of the Committee (excluding fees and expenses of counsel

to individual committee members), with supporting documentation to Committee counsel, which

counsel shall collect and submit such Committee member’s request for reimbursement in

accordance with the Compensation Procedures. Approval of the Compensation Procedures,

however, will not authorize payment of such expenses to the extent that such payment is not

authorized under the Bankruptcy Code, the Bankruptcy Rules, Local Rules, or the practice of this

Court.




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        5.      The Professionals shall be required to serve the Interim Fee Applications and the

Final Fee Applications only on the Notice Parties, and all other parties entitled to notice shall be

entitled to receive only notices of hearings on the Interim Fee Applications and Final Fee

Applications.

        6.      All notices given in accordance with the Compensation Procedures as set forth

herein shall be deemed sufficient and adequate notice and in full compliance with the applicable

provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

        7.      The Debtors shall include all payments made to Professionals in accordance with

the Compensation Procedures in their monthly operating report, identifying the amount paid to

each of the Professionals.

        8.      The Debtors are authorized to take any and all actions necessary to effectuate the

relief granted herein.

        9.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




Dated: November 18th, 2023                             MARY F. WALRATH
Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE

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